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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MARC JACOBS TRADEMARKS, LLC and
MARC JACOBS INTERNATIONAL, LLC,                    Case No. 20-cv-00807

              Plaintiffs,                          Judge Charles R. Norgle
v.
                                                   Magistrate Judge Susan E. Cox
JOUSTIMO STYLISH STORE, et al.,

              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Marc Jacobs

Trademarks, LLC (“MJT”) and Marc Jacobs International, LLC (“MJI”) (collectively, the “MJ

Entities” or “Plaintiffs”), hereby dismisses this action with prejudice as to the following

Defendants:

              Defendant Name                                       Line No.
                Q Bag Store                                           58
               TA fish Store                                         151

Dated this 11th day of June 2020.           Respectfully submitted,

                                            /s/ Allyson M. Martin
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